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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

____________________________________________
                                            )
                                            ) Chapter 7
In re:
                                            )
                                            ) Case No. 22-33553 (CML)
ALEXANDER E. JONES,                         )
                                            )
                  Debtor.                   )
___________________________________________ )

              GLOBAL TETRAHEDRON, LLC’S (I) STATEMENT IN
         SUPPORT OF TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF
        AN ORDER IN FURTHERANCE OF THE SALE OF ASSETS OF FREE
      SPEECH SYSTEMS, LLC AND (II) OMNIBUS REPLY RELATED THERETO

       Global Tetrahedron, LLC (“Global Tetrahedron”), as joint Successful Bidder1 and party-

in-interest in the above-captioned case (the “Chapter 7 Case”), files this (i) statement in support of

the Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale of Assets of Free

Speech Systems, LLC [Docket No. 915] (the “Sale Motion”) and (ii) omnibus reply to various

pleadings filed related thereto and to the sale of the IP Assets to Global Tetrahedron and the

Connecticut Plaintiffs 2 (the “Sale”) as the joint Successful Bidders (collectively, the “Joint

Successful Bidders”). In support of the Sale Motion and the Sale, Global Tetrahedron also

incorporates the Trustee’s Objection to the Debtor’s Emergency Application for Temporary




1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Order
Granting Trustee’s Motion for Entry for an Order Authorizing the Winddown of Free Speech Systems, LLC
[Docket 859] (the “Winddown Order”).
2
 “Connecticut Plaintiffs” means Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna
Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
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Restraining Order filed contemporaneously herewith by the chapter 7 trustee appointed in the

Chapter 7 Case (the “Trustee”) by reference herein and respectfully states as follows:

         1.     The designation of Global Tetrahedron and the Connecticut Plaintiffs as the Joint

Successful Bidders is the result of a fair and fulsome sale process that was conducted by the Trustee

in good faith and in accordance with the terms of the Winddown Order. While contesting parties

may be disappointed with the result of the sale process, they are bound to respect that result.3 It is

wholly inappropriate for any party to launch a largely irrelevant and unfounded collateral attack

on the process and its result, designed solely to forestall approval of the Sale, create burdensome

and unnecessary expense, confusion, and waste, and delay the estate’s ability to recognize any

benefit from the Sale process.4 The facts are simple—the Trustee, as fiduciary for the estate, in

consultation with its independent third-party advisor, exercised reasonable business judgment in

designing a bidding process to maximize value for the benefit of the estate and in ultimately

accepting the best overall bid. The prescribed route for any challenge to the Trustee’s reasonable

business judgment is an objection to the Sale Motion. That is exactly what should occur here—

the Court should set a hearing on the Sale Motion (“Sale Hearing”) for the earliest possible date

and approve the Sale Motion.




3
 The Winddown Order expressly provides that “[b]y submitting its Sealed Bid, each Potential Bidder is
agreeing to abide by and honor the terms of these Bid Requirements and this Order and agrees not to submit
a bid or seek to reopen the Sale process or the IP Assets Auction (if held) after conclusion of the selection
of the Successful Bidder (as defined herein).” Winddown Order ⁋ 6.
4
 Instead of objecting to the Sale Motion, First United American Companies, LLC (“FUAC”) filed the
Emergency Motion to Disqualify Global Tetrahedron, LLC’s Bid [Docket No. 913] (the “Motion to
Disqualify”), and the Debtor filed the Plaintiff’s Complaint and Emergency Application for Temporary
Restraining Order and Preliminary Injunction Pursuant to Bankruptcy Rule 7065 [Docket No. 917] (the
“TRO Complaint”), each of which is filled with bald and unsupported accusations, entirely irrelevant facts,
and requests for inappropriate relief.


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        2.        At such Sale Hearing, the evidence will show that: the Joint Successful Bidders

made their bid in good faith, in compliance with the procedures for the sale of the IP Assets

(the “Bidding Procedures”) and absent collusion; that the process was fair and applied equally to

all participating parties; that the Joint Successful Bidders submitted the best bid; and that the

Trustee, as fiduciary, undertook extensive and rigorous analysis to select such bid as the Successful

Bid. The Joint Successful Bidders are entitled to move forward to the Sale Hearing—as is typical

following any sale process—where all parties will have the right to be heard. But the contesting

parties’ tactics outside that ordinary process have prejudiced the Joint Successful Bidders, who—

in spite of being harassed and threatened by the Debtor and members of his audience since their

winning bid was announced—have continued to participate in the sale process at great expense

and without any clarity on consummation of the Sale and ultimate finality of the process. The Joint

Successful Bidders have already funded the full cash purchase price for the Sale and stand ready

and willing to proceed to the Sale Hearing and consummate the Sale following Court approval, so

the estate can recognize the material benefits of this process. None of the allegations as to the sale

process and its result made by First United American Companies, LLC (“FUAC”) or the Debtor

in this Chapter 7 Case—last ditch efforts to derail the Sale process—carry water, and the Sale of

the IP Assets to the Joint Successful Bidders should be approved.

             I.   The Sale Process Complies With the Winddown Order

        3.        On September 25, 2024, following appropriate notice and a contested hearing, the

Court entered the Winddown Order, establishing the Bidding Procedures. The Bidding Procedures

were designed to generate the greatest level of interest and best value for the IP Assets while




                                                  3
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affording the Trustee flexibility, in the Trustee’s reasonable business judgment, to modify the

Bidding Procedures to promote the goals of the bidding process.5

          4.     In accordance with the Bidding Procedures, the Trustee—with the assistance of

Tranzon360, an independent third-party whose retention was approved by the Court—engaged in

a fulsome process to solicit and develop the highest or otherwise best offer for the IP Assets. Upon

receipt and analysis of the Global Tetrahedron and the Connecticut Plaintiffs’ joint bid (the “GT

Bid”) and the FUAC bid (the “FUAC Bid”), the Trustee determined, in the reasonable exercise of

his business judgment, that requesting final and best offers from the two Qualified Bidders in lieu

of a live bidding process was the best option available to maximize value to creditors of the estate.

Such process was consistent with the Winddown Order and the Trustee’s discretion thereunder.6

Following submission of final and best offers by the IP Assets Bid Deadline, the Trustee engaged

in a thorough analysis to assess each bid’s total benefit to the estate and determined that the final

GT Bid was the highest and best bid, selected such bid as the Successful Bid, and filed the notice




5
    See Winddown Order ⁋ 29.
6
  See Winddown Order ⁋⁋ 12 (“The Trustee is authorized to implement such other procedures as may be
announced by the Trustee and his advisors from time to time on the record at Auction; provided that such
other procedures are (i) not inconsistent with this Order, the Bankruptcy Code, or any other order of the
Court, (ii) disclosed orally or in writing to all Qualified Bidders, and (iii) determined by the Trustee to
further the goal of attaining the highest or otherwise best offer for the applicable IP Assets and any other
Assets upon which the Qualified Bidder submitted a Qualified Bid.”), 29 (“The Trustee’s right is fully
reserved, in his reasonable business judgement and in a manner consistent with his duties and applicable
law, to modify or waive any procedures or requirements with respect to all Potential Bidders . . . and in a
manner that will best promote the goals of the bidding process . . . including without limitation . . .
(d) canceling any Auction . . . .”); Sale Mot. ⁋ 32 (“The Trustee determined in his reasonable business
judgement, and in consultation with his professionals, that the “final and best” overbid strategy (i) was in
the best interest of all bidding parties, (ii) would provide a more equitable method of evaluating the bids,
(iii) would provide the best method of maximizing value to the creditors, and (iv) was consistent with the
terms of the Sealed Bid Package and Winddown Order and his discretion under the Winddown Order, ‘prior
to conclusion of an Auction (if any) [to] impose such other terms and conditions upon bidders as the Trustee
determines to be in the best interests of the Debtor’s estate, FSS and their creditors in this bankruptcy
case.’”).


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of successful bidder [Docket No. 903] on November 14, 2024.7 Such sale process has now run its

course, and the parties are entitled to have the Court hold the Sale Hearing to seek approval of the

Sale as soon as possible.

            II.       The Bids Were Solicited in Good Faith and In Compliance with the Bidding
                      Procedures

           5.     Consistent with the Bidding Procedures, the Trustee, with the assistance of

Tranzon360, ran a comprehensive and fair sale process to promote active bidding by interested

parties and to reach the highest or otherwise best offer available for the IP Assets. In conducting

the sale process, the Trustee exercised its reasonable business judgment about the best way to

maximize the value of the assets for the benefit of the estate.8 Importantly, the process used by

the Trustee to conduct the sale was fair and applied equally to all parties—the GT Bid and the

FUAC Bid were subject to the same Bid Procedures, such process and related deadlines were

disclosed with ample notice to all of Global Tetrahedron, the Connecticut Plaintiffs, and FUAC,

and all parties received similar notices throughout the sale process, including the Trustee’s

communication notifying them of the requirement to submit their best and final bid in lieu of the

live auction.9 FUAC participated in this sale process, including the submission of a best and final

bid in lieu of a live auction, and did not raise any objections as to how the process was conducted

until after the GT Bid was declared the Successful Bid, revealing FUAC’s objection for what it

is—a belated attempt to challenge the integrity of a Court-approved process conducted in good

faith by a fiduciary of the estate.




7
    Sale Mot. ⁋ 44.
8
 See, e.g., In re Food Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir. 1997) (holding that, in bankruptcy
sales, “a primary objective of the Code [is] to enhance the value of the estate at hand”).
9
    Sale Mot. ⁋ 33.


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            6.     The GT Bid complied in all respects with the Bid Requirements set forth by the

Winddown Order.10 The Winddown Order is clear: bids for the IP Assets may include “cash and

non-cash components”11 and it is indisputable that the Distributable Proceeds Waiver adds material

value that benefits unsecured creditors of the estate, who will receive a material recovery to which

the Connecticut Plaintiffs were otherwise entitled. 12 The Trustee’s analysis shows that such

unsecured creditors will be entitled to more sale proceeds under the GT Bid than under the FUAC

Bid—or under any bid with a cash value of up to $7,000,000.13

            7.     The GT Bid also complies with the other Bid Requirements of the Winddown Order,

including: (a) stating the Purchase Price as a specific amount in U.S. Dollars,14 listing the Purchase

Price for the IP Assets as “[n]ot less than $7,000,000, as set forth in more detail in the

accompanying Final Bid Letter”; (b) clearly identifying the IP Assets as the assets the Joint

Successful Bidders sought to acquire15 and disclosing the identity of Global Tetrahedron and the

Connecticut Plaintiffs as the bidders 16 ; (c) not conditioning the bid on the obtaining or the



10
  FUAC has objected to the Joint Successful Bid because it includes the Connecticut Plaintiffs’ waiver of
their entitlement to certain cash proceeds of the Sale (the “Distributable Proceeds Waiver”).
11
  Winddown Order ⁋ 6 (“Each Sealed Bid must clearly set forth the purchase price to be paid, including
cash and non-cash components, if any.”).
12
  Non-cash benefits are regularly included in 363 sale bids and must be considered when determining bid
value. See In re Douglas J. Roger, M.D., Inc. APC, 393 F.Supp.3d 940, 966 (D. Cal. 2019) (holding that a
bankruptcy court may not ignore non-cash benefits afforded to the estate from bid when determining
whether bid was the highest and best offer) (citing In re Lahijani, 325 B.R. 282, 289 (B.A.P. 9th Cir. 2005)).
13
  Sale Mot. ⁋⁋ 40–43 (analyzing incremental proceeds available to unsecured creditors other than the
Connecticut Plaintiffs under the Distributable Proceeds Waiver using various assumptions).
14
     Id. (“The Purchase Price should be a specific amount in U.S. Dollars (not a range).”).
15
     Id. (“Each Sealed Bid must clearly state which of the Assets the Potential Bidder seeks to acquire.”).
16
   Id. (“Each Bid must fully disclose the identity of each entity and each entity’s shareholders, partners,
investors, and ultimate controlling entities that will be bidding for or purchasing the applicable Assets or
otherwise participating in connection with such Sealed Bid and the complete terms of any such
participation, along with sufficient evidence that the Potential Bidder is legally empowered to complete the
transactions on the terms contemplated by the parties.”).


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sufficiency of financing, internal approval, or on the outcome or review of due diligence;17 and

(d) funding the requisite Good Faith Deposit.18

           III.    The GT Bid is the Highest or Otherwise Best Bid for the IP Assets

           8.     Following review and consideration of the GT Bid and the FUAC Bid and their

overall benefit to the estate, the Trustee designated the GT Bid as the Successful Bid for the IP

Assets. 19 The Trustee’s business judgment determination, which is entitled to considerable

deference, is clearly justified in light of the terms of each bid. While the GT Bid may have had a

lower cash component, it also included (a) the Distributable Proceeds Waiver and (b) the payment

of a portion of future revenues derived from the IP Assets to the Connecticut Plaintiffs and the

Texas Plaintiffs on a pro rata basis (the “Future Revenue Payments”). The GT Bid, therefore,

maximizes value for the benefit of the estate’s unsecured creditors because such unsecured

creditors’ share of the Sale proceeds will be greater under the GT Bid than under the FUAC Bid.

As courts commonly recognize, “[w]hile the bid that brings in the most cash often wins, it is

‘common knowledge’ that the ‘highest bid is not always the best bid.”20 This is particularly true

here because the Winddown Order does not mandate the Trustee to select the highest offer but,

instead, to determine and select the Qualified Bid that is “the highest or otherwise best offer” for




17
  Id. (“A Sealed Bid shall not be conditioned on the obtaining or the sufficiency of financing, any internal
approval or on the outcome or review of due diligence.”).
18
  Id. (“Each Sealed Bid must be accompanied by a cash deposit equal to ten percent (10%) of the Purchase
Price of such Sealed Bid, submitted by wire transfer of immediately available funds to an interest-free
separate segregated account of FSS to be identified and established by the Trustee.”).
19
  See Notice of Successful Bidder and Backstop Bidder in the Auction for the Assets of Free Speech Systems,
LLC Free and Clear of Any and All Claims, Interests, and Encumbrances [Docket No. 903] (the “Notice
of Successful Bidder”).
20
     In re Tresha-Mob, LLC, 2019 WL 1785431, at *2 (Bankr. W.D. Tex. Apr. 3, 2019) (citation omitted).


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the IP Assets.21 As courts have recognized, “a ‘highest’ bid is not always the ‘highest and best

bid’” and “the inclusion of ‘best’ in that conjunction is not mere surplusage.”22 For these reasons,

the Trustee appropriately determined, in his reasonable business judgment, that the GT Bid is the

highest and best offer for the IP Assets.

            IV.    FUAC and the Debtor’s Allegations As To The Impropriety of the Sale Process
                   Are Factually Inaccurate

           9.     FUAC and the Debtor filed the Motion to Disqualify and the TRO Complaint,

respectively, in an improper attempt to halt the sale process and challenge the GT Bid as the

Successful Bid. Both the Motion to Disqualify and the TRO Complaint rely on allegations that

are speculative and inaccurate, completely unsupported by fact, and largely irrelevant.

           10.    First, FUAC and the Debtor allege that Global Tetrahedron and the Connecticut

Plaintiffs engaged in bid collusion by “teaming up” to submit a joint bid in an effort to “rig” the

auction.23 These allegations are an attempt to derail the Sale process by a losing bidder, and reflect

a misunderstanding of the elements of collusion. Section 363(n) of the Bankruptcy Code permits

only the trustee to avoid a sale when “the sale price was controlled by an agreement among

potential bidders.”24 As an initial matter, no party in interest has standing to assert collusion other

than the Trustee.25 Additionally, allegations of collusion require a showing of price suppression,


21
  Winddown Order ⁋ 13 (“The Trustee is authorized at the IP Assets Auction (if any) to (a) determine
which Qualified Bid is the highest or otherwise best offer for the respective Assets based on their perceived
competitiveness in comparison to other Bids”) (emphasis added).
22
     In re Bakalis, 220 B.R. 525, 533 (Bankr. E.D.N.Y. 1998).
23
     Mot. to Disqualify ⁋ 9; TRO Complaint ⁋⁋ 53–54.
24
     11 U.S.C. § 363(n)
25
   11 U.S.C. §363(n) (listing the trustee as the only party authorized to bring a challenge to a sale under
11 U.S.C. § 363(n)); In re New Energy Corp., 739 F.3d 1077, 1079 (7th Cir. 2014) (“[U]nder § 363(n), the
trustee rather than a bidder is the right party to protest collusive sales” and explaining that a potential bidder
lacks standing to object to an allegedly collusive auction because of the plain language of the statute limiting
relief to the trustee and because potential bidders would be helped, not harmed, by collusion that chills the
bidding); In re Butan Valley v. Alkasabi, 2009 WL 5205343, at *2 (S.D. Tex. Dec. 23, 2009) (“The only


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and the estate being worse off for that agreement amongst bidders. Here, far from suppressing the

purchase price, the joint bid between Global Tetrahedron and the Connecticut Plaintiffs had the

effect of increasing the consideration received by the estate, as the joint bid allowed the GT Bid

to offer the Distributable Proceeds Waiver, which confers material additional value to unsecured

creditors. The Trustee, as fiduciary of the estate, and his independent third-party advisor, both

determined following careful consideration that the GT Bid provided the highest value.26 There

can be no collusion when the bid benefited the estate. The Bidding Procedures recognizes this

potential value of joint bids by expressly contemplating them.27 That is also why courts have

recognized that the mere existence of a joint bid does not amount to collusion.28




two claims asserted in the Adversary Proceeding Complaint are based on § 363(n). That statute provides
clearly that it is the ‘trustee’ who may avoid a sale ‘if the sale price was controlled by an agreement among
potential bidders at such sale.’ Alkasabi is not the ‘trustee’ and, as a result, he lacks standing to file and
pursue a claim under § 363(n).”) (citing Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A., 530
U.S. 1, 120 S. Ct. 1942 (2000) (interpreting similar language in different Bankruptcy Code provision as
conferring standing on the trustee only)).
26
  See Sale Mot. ⁋⁋ 40–44 (“Based on this analysis, the Trustee determined that the GT Final Bid was the
highest and best bid received and selected that bid as the winning bidder.”).
27
  Winddown Order ⁋ 6 (“Each Bid must fully disclose the identity of each entity and each entity’s
shareholders, partners, investors, and ultimate controlling entities that will be bidding for or purchasing the
applicable Assets or otherwise participating in connection with such Sealed Bid, and the complete terms of
any such participation . . . .”).⁋
28
  See In re Edwards, 228 B.R. 552, 566 (Bankr. E.D. Pa. 1998) (“Thus, the Vogel decision appears to reject
Debtor’s notion that an agreement between joint bidders that results in a single bid in exchange for some
consideration must necessarily evidence bad faith.”) (citing Landscape Properties, Inc. v. Vogel, 46 F.2d
1416 (8th Cir. 1995)); In re New Energy Corp., 739 F.3d 1077, 1079 (7th Cir. 2014) (“Not that agreement
among bidders necessarily deserves opprobrium. Joint ventures have the potential to improve productivity
as well as the potential to affect prices; that’s why in antitrust law they are analyzed under the Rule of
Reason rather than a rule of per se illegality. All Natural Chem offered to show is that two other bidders
formed a joint venture; this is short of establishing forbidden collusion. Perhaps the agreement increased
the price realized—which could have harmed Natural Chem (had it bid) but would have helped New
Energy’s creditors and would have been a reason to confirm the sale rather than set it aside.”); see also 3
Collier on Bankruptcy P 363.12 (“The mere existence of a joint bid does not itself amount to collusive
bidding, and it is not uncommon for potential bidders to work together to give themselves more bidding
power.”).


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           11.    Second, FUAC and the Debtor’s assertion that the sale process lacked transparency

because the Trustee did not disclose that the GT Bid was comprised of the Distributable Proceeds

Waiver contradicts the purpose, and is inconsistent with the terms, of the Bidding Procedures.

Sealed bid sales are customarily used by trustees as a way to maximize value, and the competitive

aspect of the process would be entirely undermined should bidders know the terms of their

competitors’ bids.29 To the contrary, sealed bids maintain the competitive tension between bidders

and force bidders to offer up their best terms irrespective of where other bids sit. This process—

which was conducted by sealed envelope submissions—strictly complies with the terms of the

Bidding Procedures.30 And far from maintaining this process in secrecy, once the Trustee selected

the Successful Bidder, the Trustee publicly disclosed all information about the Qualified Bids,

including by disclosing copies of the initial and final bids submitted by each Qualified Bidder.31

             V.    Requests for Disqualification of the Successful Bid and a Temporary
                   Restraining Order Are Improper

           12.    The Disqualification Motion and the TRO Complaint are inappropriate collateral

attacks on the approval of the sale and should not be given any merit. As discussed at the

November 14 hearing, the Trustee is seeking separate approval of the Sale. On November 18, the

Trustee filed the Sale Motion, seeking approval of the GT Bid. All parties-in-interest have received

adequate notice and will have an opportunity to be heard at the Sale Hearing. For these reasons,

challenges to the Sale must be brought in opposition to the Sale Motion and addressed in that

context as part of the Sale Hearing.



29
  Cf. In re Moore, 608 F.3d 253, 263 (5th Cir. 2010) (“A trustee has the duty to maximize value of the
estate.”).
30
  Winddown Order ⁋ 6 (requiring that bidders submit “sealed bids” to participate in the bidding process
for the IP Assets).
31
     See Sale Mot. ⁋⁋ 2, 26–28, 36–43; Ex. B-G.


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         13.    FUAC’s attempt to disqualify the GT Bid because it does not believe the GT Bid is

the highest or otherwise best offer for the IT Assets also runs contrary to the competitive nature of

the process. Unsuccessful bidders can of course challenge a trustee’s business judgment in

selecting another bid. But seeking to disqualify a competing bid has no basis in the Sale Process;

it is a transparent attempt to eliminate competition and substitute the objector’s own business

judgment for the Trustee’s. Similarly, the Debtor’s request for a temporary restraining order is an

irrelevant distraction—the Court will appropriately address at the Sale Hearing whether the sale to

the Joint Successful Bidders may go forward. Given the significant cost and delay already suffered

by Global Tetrahedron, the Court should dispose of these attempts to create prejudicial cost and

delay and schedule the Sale Hearing as soon as possible. That hearing—where evidence, rather

than unfounded speculation, will be required—will show that the bidding process was fair and

open, complied with the Court’s order, and resulted in selection of the bid that provides the greatest

benefit to the estate.




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Dated: November 24, 2024             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Statement has been served on
counsel for the Debtor, the Debtor, and all parties receiving or entitled to notice through CM/ECF
on this 24th day of November, 2024.

                                                     /s/ Lauren Womack
                                                     Lauren Womack
